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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION
                                   www.flsb.uscourts.gov

In re:

RALPH LEVI SANDERS, JR.                                              Case No. 22-14766-SMG
                                                                     Chapter 13
      Debtor.
______________________________/

                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the Debtor’s Counsel’s Motion to Withdraw

and Motion for Extension of Time to Comply with All Outstanding Deadlines in Relation to this

Matter [ECF #20] and Notice of Hearing [ECF #21] was sent electronically or by U.S. Mail to all

NEF registered parties and/or to all parties on the attached service list on this 7th day of September

2022.

Robin R. Weiner, Chapter 13 Trustee
P.O. Box 559007
Fort Lauderdale, FL 33355

Office of the US Trustee
51 S.W. 1st Avenue
Suite 1204
Miami, FL 33130

Synchrony Bank
c/o PRA Receivable Management, LLC
P.O. Box 41021
Norfolk, VA 23541




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                                    Respectfully Submitted,

                                    /s/ Nicholas G. Rossoletti_________
                                    RON S. BILU
                                    Florida Bar No. 0632651
                                    NICHOLAS G. ROSSOLETTI
                                    Florida Bar No. 0051466
                                    ANDREA VALENCIA
                                    Florida Bar No. 1022517
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                         2
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Label Matrix for local noticing              Specialized Loan Servicing LLC                 Synchrony Bank
113C-0                                       P.O. Box 5703                                  PRA Receivables Management, LLC
Case 22-14766-SMG                            Clearwater, FL 33758-5703                      PO Box 41021
Southern District of Florida                                                                Norfolk, VA 23541-1021
Fort Lauderdale
Tue Sep 6 16:23:35 EDT 2022
ARS/Account Resolution Specialists           Broward Medical Associates                     (p)CITIBANK
P.O. Box 459079                              7390 S.W. 5th Street                           PO BOX 790034
Sunrise, FL 33345-9079                       Plantation, FL 33317                           ST LOUIS MO 63179-0034



City of Plantation Code Enforcement          City of Plantation, FL                         Credit One Bank
451 N.W. 70th Terrace                        POB 918557                                     P.O. Bank 98873
Plantation, FL 33317-2239                    Orlando, FL 32891-0001                         Las Vegas, NV 89193-8873



Dr. Ramsey Pevsner                           Flagship Credit Acceptance                     Genesis FS Card Services
7469 N.W. 4th Street                         P.O. Box 965                                   P.O. Box 4499
Plantation, FL 33317-2216                    Chadds Ford, PA 19317-0643                     Beaverton, OR 97076-4499



(p)U S ATTORNEY’S OFFICE                     Honorable Merrick B. Garland                   (p)I C SYSTEM INC
99 NE 4TH STREET SUITE 300                   United States Attorney General                 LEGAL DEPARTMENT
MIAMI FL 33132-2131                          U.S. Department of Justice                     PO BOX 64444
                                             950 Pennsylvania Avenue, NW                    SAINT PAUL MN 55164-0444
                                             Washington, DC 20530-0009

Inphynet South Broward, Inc.                 Internal Revenue Service                       LVNV Funding, LLC
P.O. Box 740022                              P.O. Box 7346                                  Resurgent Capital Services
Cincinnati, OH 45274-0022                    Philadelphia, P.A. 19101-7346                  PO Box 10587
                                                                                            Greenville, SC 29603-0587


Law Office of Gary Gassel, P.A.              MD Now Medical Center                          Medical Data System (MDS)
2191 Ringling Blvd.                          2007 Palm Beach Lakes Blvd                     2001 9th Ave., #312
Sarasota, FL 34237-7003                      West Palm Beach, FL 33409-6501                 Vero Beach, FL 32960-6413



Memorial Physicians Group                    Midland Funding                                Office of the US Trustee
P.O. Box 58015                               8875 Aero Drive, #200                          51 S.W. 1st Ave.
Raleigh, NC 27658-8015                       San Diego, CA 92123-2255                       Suite 1204
                                                                                            Miami, FL 33130-1614


Plantation General Hospital                  Quantum3 Group LLC as agent for                Resurgent Capital Services
Resurgent Capital Services                   Genesis FS Card Services Inc                   P.O. Box 1927
PO Box 1927                                  PO Box 788                                     Greenville, SC 29602-1927
Greenville, SC 29602-1927                    Kirkland, WA 98083-0788


Small Business Administration                Small Business Administration                  Specialized Loan Servicing
409 Third Street S.W.                        Special Assistant US Attorney                  6200 S Quebec St.
Washington, D.C. 20416-0005                  200 W. Santana Ana Blvd., Suite 180            Greenwood Village, CO 80111-4720
                                             Santa Ana, CA 92701-4134
                                   Case 22-14766-SMG             Doc 22       Filed 09/07/22         Page 4 of 4
Sprechman & Fisher, P.A.                             Tenet Florida Physicians Service                     The Bank of New York Mellon Trustee (See 410
2775 Sunny Isles Blvd.., #100                        P.O. Box 100198                                      c/o Specialized Loan Servicing LLC
North Miami Beach, FL 33160-4078                     Atlanta, GA 30384-0198                               6200 S. Quebec St., Suite 300
                                                                                                          Greenwood Village, Colorado 80111-4720


U.S. Small Business Administration                   Wells Fargo Bank, N.A.                               Westside Regional Medical Center
200 W. Santa Ana Blvd., Ste 740                      420 Montgomery Street                                P.O. Box 99008
Santa Ana, CA 92701-7534                             San Francisco, CA 94104-1298                         Bedford, TX 76095-9108



Westside Regional Medical Center                     Nicholas G Rossoletti                                Ralph Levi Sanders Jr.
Resurgent Capital Services                           2760 W. Atlantic Boulevard                           561 SW 60 Ave.
PO Box 1927                                          Pompano Beach, FL 33069-5711                         Plantation, FL 33317-3947
Greenville, SC 29602-1927


Robin R Weiner
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355-9007




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Citibank                                             Honorable Juan Antonio Gonzalez                      IC Systems, Inc.
ATTN: Centralized Bankruptcy                         United States Attorney Southern District             ATTN: Bankruptcy
POB 20507                                            United States Attorneys Office                       POB 64378
Kansas City, MO 64195                                99 N.E. 4th Street                                   Saint Paul, MN 55164
                                                     Miami, FL 33132

End of Label Matrix
Mailable recipients    39
Bypassed recipients     0
Total                  39
